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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF MARYLAND
                                    Baltimore Division


    In re:                                  *      Case no 21-13965
             Rhonda Wimbish-Billips         *      Chapter 13

         Debtor(s).        *
**********************************************************

 Selene Finance LP as attorney in fact
 for U.S. Bank National Association
                    Movant,
vs.

Rhonda Wimbish-Billips
          Debtor/Respondent,

*       *    *    *    *    *     *   *    *    *    *     *   *
       RESPONSE TO MOTION FOR RELIEF FROM STAY TO RECLAIM SECURITY

      Now comes the Debtor (the “Respondent”), through attorney, Jeffrey M. Sirody,
and responds to the Motion For Relief From Stay to Reclaim Security as follows:

                 1)     The Debtor admits the allegations contained in Paragraphs 1 through
                 4,6,7,9 of the Motion.


                 2)     The Debtor denies the allegations contained in Paragraph 10, 12, 14,
                 15, 15 of the Motion.

                 3).   The Debtor neither admits nor denies the allegations contained in
                 paragraphs 5, 8, 11 of the Motion.



         WHEREFORE, the Debtor requests that the Court deny the Motion.

                                                  ___/s/ Jeffrey M. Sirody
                                                  Jeffrey M. Sirody, Bar ID # 11715
                                                  Jeffrey M. SIrody & Associates
                                                  1777 Reisterstown Road, Suite 360 E
                                                  Baltimore, MD 21208
                                                  (410) 415-0445
                                                  Attorney for Debtor/Respondent
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                             CERTIFICATE OF MAILING

`      I HEREBY CERTIFY that on this, the 5th day of August 2021 I reviewed the Court’s
CM/ECF system and it reports that an electronic copy of the foregoing Response to
Motion For Relief From Stay to Reclaim Security will be served electronically by the
Court’s CM/ECF system to the following:

   Jason Murphy jasmurphy@raslg.com
   Robert S. Thomas ECF@ch13balt.com, rthomas13@ecf.epiqsystems.com




                                             ___/s/_________________
                                             Jeffrey M. Sirody, Esquire
